   8:09-cr-00411-LSC-TDT Doc # 83 Filed: 01/31/11 Page 1 of 1 - Page ID # 326




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )            CASE NO. 8:09CR411
                                               )
              Plaintiff,                       )
                                               )
              vs.                              )                    ORDER
                                               )
ARNEL KNIGHT and EDDIE WOODS,                  )
                                               )
              Defendants.                      )

       This matter is before the Court on the pro se motion for return of property filed by

a third party Claimant, Tyrell Knight (Filing No. 81).

       Both Defendant's pleaded guilty to Count V, charging criminal forfeiture of

$6,373.00. Forfeiture proceedings followed, and the government published the required

notice. No claimants timely came forward, and therefore a final order of forfeiture was

entered on August 11, 2010. Tyrell Knight filed his motion, or claim, on January 24, 2011.

       IT IS ORDERED:

       1.     The motion for return of property filed by a third party Claimant, Tyrell Knight

              (Filing No. 81) is denied; and

       2.     The Clerk is directed to mail a copy of this order to the Claimant, Tyrell

              Knight, at his last known address.

       DATED this 31st day of January, 2011.

                                                   BY THE COURT:


                                                   s/Laurie Smith Camp
                                                   United States District Judge
